      Case 1:15-cr-00104-AWI-SKO Document 136 Filed 12/28/15 Page 1 of 2




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Sarah Ybarra



                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,           )             Case No.: 1:15-cr-00104 AWI-SKO
                                    )
            Plaintiff,              )             STIPULATION AND ORDER
                                    )             TO AMEND SENTENCE
vs.                                 )
                                    )
SARAH YBARRA,                       )
                                    )
            Defendant.              )
____________________________________)


       IT IS HEREBY STIPULATED by and between the parties hereto through their

respective counsel, RICHARD A. BESHWATE, JR., attorney for Defendant, SARAH

YBARRA, and MELANIE ALSWORTH, Assistant U.S. Attorney for Plaintiff, that the sentence

imposed on SARAH YBARRA on November 23, 2015, wherein she was sentenced to 12

months, be amended to a sentence of one year and a day.



Dated: December 23, 2015                   Respectfully submitted,
                                           /s/ Richard A. Beshwate, Jr.
                                           RICHARD A. BESHWATE, JR.
                                           Attorney for Defendant, SARAH YBARRA
      Case 1:15-cr-00104-AWI-SKO Document 136 Filed 12/28/15 Page 2 of 2




Dated: December 23, 2015                   Respectfully submitted,
                                           /s/ Melanie Alsworth
                                           Assistant U.S. Attorney

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                                          ORDER

      IT IS HEREBY ORDERED that the sentence imposed upon defendant, Sarah Ybarra,

be amended to a sentence of one year and a day.




IT IS SO ORDERED.

Dated: December 28, 2015
                                          SENIOR DISTRICT JUDGE
